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UNITED sTATEs DISTRICT CoURT D-C»
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UNITED sTATES oF AMERICA §§ §§ ,, \-.'.JE,:§..,|¢PH,S
-v- Case No. 2:05cr20254-01D
MEIKO BRITTON
oRDER sETTlNG
coNolTloNs oF RELEASE

IT IS ORDERED that the release of the defendant is subject to the following conditions and provisions:

(1) The defendant shall not commit any offense in violation of federal, state or local law while on release in this
case.

(2) 'Ihe defendant shall immediately advise the court, Pretrial Services Offrce, Probation Offrce, defense counsel
and the U.S. Attomey in writing of any change in address and telephone number.

(3) The defendant shall appear at all proceedings as required and shall surrender for service of any sentence

imposed as directed. The defendant shall next appear for Arraignment in the United States Courthonse and
F ederal Building in Cou.rtroorn #M-B on Wednesday, August 3, 2005 , at 9:30am.

ADD|T|ONAL COND|T|ONS OF RELEASE

In order reasonably to assure the appearance of the defendant and the safety of other persons and the
community, it is FURTHER ORDERED that the release of the defendant is subject to the conditions marked below:

0 The defendant is released on personal recognizance
Secured Financial Conditions

0 report as directed by the Pretrial Services Office.

ADV|CE OF PENALT|ES AND SANCTIONS
TO THE DEFENDANT:

¥OU ARE ADV|SED OF THE FOLLOW|NG PENALT|ES AND SANCT|ONS:

A violation of any of the foregoing conditions of release may result in the immediate issuance of a warrant for
your arrest, a revocation of release, an order of detention, and a prosecution for contempt of court and could result in
a term of imprisonment, a fine, or both. '

  

Thls document entered on the docket sh
with Flula 55 and/or 32(b) FFlCrP on

AO 199A Order Sem`ng Conditions of Release

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The commission of a Federal offense while on pretrial release may result in an additional sentence to a term

of imprisonment of not more than ten years, if the offense is a felony; or a term of imprisonment of not more than one
year, if the offense is a rnisdemeanor. This sentence shall be in addition to any other sentence,

Federai law makes it a crime punishable by up to ten years of imprisonment, and a $250,000 fine or both to

obstruct a criminal investigation It is a crime punishable by up to ten years of irrrprisonmcnt, and a $250,000 fine or
both to tamper with a witness, victim or informant; to retaliate or attempt to retaliate against a witrress, victim or
informant; or to intimidate or attempt to intimidate a witness, victim, juror, informant or officer of the cou.rt. The
penalties for tampering, retaliation, or intimidation are significantly more serious if they involve a killing or attempted

killing

If after release, you knowingly fail to appear as required by the conditions of rclease, or to surrender for the

service of sentence, you may be prosecuted for failing to appear or surrender and additional punishment may be
imposed. lf you are convicted of:

(l)
(2)

(3)
(4)

an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more, you
shall be fined not more than $250,000 or imprisoned for not more than ten years, or both;

an offense punishable by imprisonment for a term of five years or more, but less than fifteen years, you shall
be fined not more than $250,000 or imprisoned not more than five years, or both;

any other felony, you shall be fined not more than $250,000 or imprisoned not more than two years, or both;
a misdemeanor, you shall be fined not more than $100,000 or imprisoned not more than one year, or both.
A term of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any

other offense. In addition, a failure to appear may result in the forfeiture of any bond posted.

ACKNOWLEDGMENT OF DEFENDANT

I acknowledge that l am the defendant in this case and that I am aware of the conditions of release. I promise

to obey all conditions of release, to appear as directed, and to surrender for service of any sentence imposed. I am aware

of the penalties and sanctions set forth above. /

Date:

 

farm
' Signature of Defendant

Meika Britton

2737 Heather Glen Cove West
Horn Lake, MS 38637

(662) 280-8955

D|RECT|ONS TO THE UN|TED STATES MARSHAL

The defendant is ORDERED released after processing

The United States marshal is ORDERED to keep the defendant in custody until notified by the Clerk or
J udicial Offrcer that the defendant has posted bond and/or complied with all other conditions for release. The
defendant shall be produced before the appropriate judicial officer at the time and place specified, if still in
custody.

Juiy29, 2005 /©/M! /K Zg/MJ"/

DIANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

 

Ao 199A order seiiing conditions or Reiease -2-

UNITED sATE DSTIIC COURT - WETERN DISTRCT oFTENNESSEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 15 in
case 2:05-CR-20254 Was distributed by faX, mail, or direct printing on
August 2, 2005 to the parties listed.

 

 

Pamela B. Hamrin

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

l\/lemphis7 TN 38103

Stephen C Parker
167 N. MAIN, Sth Floor
l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

